AO 455 (Rev. 01/09) Waiver of an Indictment

 

UNITED STATES DISTRICT COURT
Western District of North Carolina

UNITED STATES OF AMERICA
NV,

Omar Carillo—Villagrana
Defendant

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Case No: 3:19-—cr—00226—FDW-DSC

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WAIVER OF AN INDICTMENT

I understand that I have been accused of one or more offenses punishable by imprisonment for more than one
year. I was advised in open court of my rights and the nature of the proposed charges against me.

After receiving this advice, I waive my right to prosecution by indictment and consent to prosecution by

information.

Date: _ August 13, 2019

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Signature of defendant's attgrTiey (ib any)

Charles L. Morgan, Jr.
Printed name of defendant's attorney (if any)

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David S.C ayer
United States Magistrate Judge

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Case 3:19-cr-00226-FDW-DSC Document 5 Filed 08/13/19 Page 1 of 1
